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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

CLEAR WITH COMPUTERS, LLC,
                Plaintiff,
                                                   Civil Action No. 6:13-CV-161-LED
                 v.
                                                   LEAD CASE
FISHING HOLDINGS, LLC DBA RANGER
BOATS,
               Defendant.


CLEAR WITH COMPUTERS, LLC,                         Civil Action No. 6:13-CV-178
               Plaintiff,                          MEMBER CASE
               v.
MANITOWOC CRANES, LLC,
                Defendant.

                       ORDER OF DISMISSAL WITH PREJUDICE

       CAME ON THIS DAY for consideration of the Agreed Stipulated Motion for Dismissal

With Prejudice of all claims and counterclaims asserted between plaintiff Clear With Computers,

LLC and defendant Manitowoc Cranes, LLC in this case, and the Court being of the opinion that

said motion should be GRANTED, it is hereby

       ORDERED, ADJUDGED AND DECREED that all claims asserted in this suit between

plaintiff Clear With Computers, LLC and defendant Manitowoc Cranes, LLC are hereby

dismissed with prejudice and all defenses of Defendant are dismissed without prejudice subject

to the terms of that certain agreement entitled "SETTLEMENT AND LICENSE

AGREEMENT" and dated June 27, 2014.

       It is further ORDERED that all attorneys' fees and costs are to be borne by the party that

incurred them unless otherwise agreed by the parties.
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           So ORDERED and SIGNED this 22nd day of July, 2014.




                             __________________________________
                             LEONARD DAVIS
                             UNITED STATES DISTRICT JUDGE




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